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                                           UNITED STATES DISTRICT COURT
                                          CENTRAL DISTRICT OF CALIFORNIA
                                                  CRIMINAL MINUTES - GENERAL




 Case No.         CR 17-00697 SJO-1                                                                      Date      August 27, 2019


 Present: The Honorable        S. James Otero

 Interpreter       Not required

                                                                                                                Christine M Ro
            Victor Paul Cruz                               Not Present                                           Ian Yanniello
                Deputy Clerk                    Court Reporter/Recorder, Tape No.                         Assistant U.S. Attorney



                U.S.A. v. Defendant(s):               Present Cust. Bond               Attorneys for Defendants:           Present App. Ret.

(#1) Daniel Flint                                       not              xx       Gregory Nicolaysen                           not   xx



 Proceedings:       IN CHAMBERS



The Court is in receipt of a letter received 08/26/2019, sent directly to Judge Otero from the
defendant. Because defendant is not represented by counsel, and only counsel may submit
filings, this Court therefore declines to entertain said letter. Pursuant to the direction of the
Court, said letter shall be forwarded to attorney Gregory Nicolaysen for determination of its
filing.




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                                                                              Initials of Deputy Clerk               vpc




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